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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

BRANDI K. STOKES,                                      §
                                                       §
                 Plaintiff,                            §
                                                       §
v.                                                     §                    1:19-CV-1021-RP
                                                       §
JOHN DOE,                                              §
                                                       §
                 Defendant.                            §

                                                  ORDER

        On January 31, 2020, Plaintiff Brandi K. Stokes (“Plaintiff”) dismissed all claims in this case

with prejudice by notice of nonsuit. (Dkt. 8). The Court construes Plaintiff’s notice of nonsuit as a

notice of dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(i). (Dkt. 4). Rule 41(a)(1)(A)(i)

allows a plaintiff to voluntarily dismiss an action without a court order by filing a notice of dismissal

before the opposing party serves an answer or a motion for summary judgment. Fed. R. Civ. P.

41(a)(1)(A)(i). Defendant John Doe (“Defendant”) has not served an answer or a motion for

summary judgment. Plaintiff’s notice is therefore “self-effectuating and terminates the case in and of

itself; no order or other action of the district court is required.” In re Amerijet Int’l, Inc., 785 F.3d 967,

973 (5th Cir. 2015), as revised (May 15, 2015).

        As nothing remains to resolve, IT IS ORDERED that the case is CLOSED.

         SIGNED on January 31, 2020.

                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
